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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



    UNITED STATES OF AMERICA
                                                   19-CR-561 (LAP)
           -against-                               11-CV-691 (LAK)

    STEVEN DONZIGER,                                   ORDER
                    Defendant.




LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

        On October 22, 2020, Mr. Donziger moved to adjourn his

November 4 trial date for reasons related to the COVID-19

pandemic.     (Dkt. no. 187.)     Mr. Donziger made a similar motion

on July 29, when trial was scheduled to begin on September 9,

and the Court denied that motion and Mr. Donziger’s follow-on

motion for reconsideration.        (Dkt. nos. 111, 124, 130, 132,

145.)1    Mr. Donziger’s latest motion to adjourn raises three

arguments: (1) COVID-19 will prevent defense witnesses from

attending trial; (2) allowing one of the Government’s witnesses,

David Zelman, to testify via live video rather than in person

will violate Mr. Donziger’s rights under the Sixth Amendment’s




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     The Court ultimately adjourned the trial from September 9
to November 4 following the conclusion of a Curcio hearing.
(Dkt. nos. 168, 172.)

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Confrontation Clause; and (3) COVID-19 safety measures may

undermine Mr. Donziger’s right to effective assistance of

counsel.   While the Court will await full briefing before ruling

on the first and third issues, it has already rejected Mr.

Donziger’s argument about Mr. Zelman’s video testimony, and Mr.

Donziger has not established that reconsideration of that ruling

is warranted.    Accordingly, the motion to adjourn based on Mr.

Zelman’s video testimony and non-attendance at trial, which the

Court treats as a motion for reconsideration, is DENIED.

    “The standard for granting motions for reconsideration is

strict, and a court may grant reconsideration only where the

moving party demonstrates an ‘intervening change in controlling

law, the availability of new evidence, or the need to correct a

clear error or prevent manifest injustice.”        United States v.

Alvarez-Estevez, No. 13 Cr. 380 (JFK), 2014 WL 12681364, at *1

(S.D.N.Y. Nov. 6, 2014).     Under Local Criminal Rule 49.1(d), the

party seeking reconsideration must “set[] forth concisely the

matters or controlling decisions which counsel believes the

Court has overlooked.”     Local Crim. Rule 49.1(d).      “Where a

motion restates arguments already presented or attempts to

advance new facts, however, ‘the motion for reconsideration must

be denied.’”    Alvarez-Estevez, 2014 WL 12681364, at *1.

    The Court has already rejected Mr. Donziger’s arguments

about Mr. Zelman’s non-attendance at trial in several prior


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orders.   First, on July 29, Mr. Donziger moved to adjourn his

trial (then scheduled for September 9) on grounds that, among

other things, a Government witness later identified as Mr.

Zelman was unwilling to travel to New York because of COVID-19

and that permitting Mr. Zelman to testify at trial by video

would violate Mr. Donziger’s Sixth Amendment rights.          (See dkt.

nos. 111, 119.)   The Court denied Mr. Donziger’s motion,

observing that, depending on Mr. Zelman’s circumstances, the

strictures of the Sixth Amendment might not preclude him from

testifying via video.    (See dkt. no. 124.)      In the wake of that

order, the Government submitted a motion outlining the medical

reasons and legal basis for Mr. Zelman to testify by video, and

the Court granted that motion over Mr. Donziger’s opposition in

an order dated August 31.     (Dkt. nos. 134, 140, 152.)       In that

order, the Court concluded that Mr. Zelman was at heightened

risk of serious health complications if he were to contract

COVID-19, that the Government had proposed adequate procedures

to ensure the reliability of his testimony by video, and that

the video testimony would comport with the requirements of the

Sixth Amendment as construed in Maryland v. Craig, 497 U.S. 836

(1990), United States v. Gigante, 166 F.3d 75 (2d Cir. 1999),

and related decisions.    (Dkt. no. 152.)

     Mr. Donziger’s instant motion is premised on the exact same

argument the Court previously rejected -- i.e., that Mr. Zelman’s


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inability to attend trial requires an adjournment (see dkt. no.

187 at 12-13) -- but he does not establish that reconsideration of

the Court’s prior ruling is warranted.       First, although Mr.

Donziger claims that the Court must “update[]” its decisions

regarding Mr. Zelman because they were issued when trial was set

for September 9 rather than November 4, as is now the case, he

does not explain how the later trial date makes any difference

in the legal analysis, and the Court finds that it does not.

Nor has Mr. Donziger identified any intervening change in

controlling law.   Indeed, the only new case he cites is from a

Kansas district court, United States v. Pangelinan, No. 19 Cr.

10077 (JWB), 2020 WL 5118550 (D. Kan. Aug. 31, 2020), which, of

course, is not binding authority for this Court.         In substance,

Mr. Donziger’s renewed argument shows nothing more than his

dissatisfaction with the Court’s finding that Mr. Zelman’s

remote testimony would comport with the framework from Gigante

and other cases.   It is axiomatic, however, that a one party’s

“disagreement with a court’s legal analysis and conclusions as

to a matter fully considered does not serve as sufficient ground

to warrant reconsideration.”      R.F.M.A.S., Inc. v. MIMI So, 640

F. Supp. 2d 506, 512 (S.D.N.Y. 2009).

     For the foregoing reasons, Mr. Donziger’s motion to adjourn

the trial so that Mr. Zelman can testify in person is DENIED.




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The Court reserves decision on the remaining issues raised in

Mr. Donziger’s motion pending the close of briefing.


SO ORDERED.

Dated:     October 23, 2020
           New York, New York




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                                           LORETTA A. PRESKA, U.S.D.J.




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